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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11
In re:
                                                                Case No.: 19-11466 (KG)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                                  (Jointly Administered)
et al.,1

                                    Debtors.

                                      CERTIFICATE OF SERVICE

         I, Seth A. Niederman, hereby certify that on September 14, 2022 a true and correct copy of
(i) the Thirty Fifth Application of Fox Rothschild LLP for Allowance of Compensation for Services
Rendered and for Reimbursement of Expenses as Counsel to the Official Committee of Unsecured
Creditors and (ii) the Thirty Sixth Monthly Application of Fox Rothschild LLP for Allowance of
Compensation for Services Rendered and for Reimbursement of Expenses as Counsel to the
Official Committee of Unsecured Creditors was served by CM/ECF on all parties registered to
receive such notice, and via First Class Mail to the parties on the attached service list.

Dated:     September 14, 2022                        FOX ROTHSCHILD LLP

                                                     /s/ Seth A. Niederman
                                                     Seth A. Niederman (DE No. 4588)
                                                     919 North Market Street, Suite 300
                                                     Wilmington, DE 19899-2323
                                                     Telephone: (302) 654-7444
                                                     Facsimile: (302) 656-8920
                                                     E-mail: sniederman@foxrothschild.com

                                                     Counsel to the Official Committee of
                                                     Unsecured Creditors




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.




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                                         Service List

 Center City Healthcare, LLC                    Saul Ewing Arnstein & Lehr LLP
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 216 North Broad Street                         DiSabatino, Esq.
 Philadelphia, PA 19102                         1201 North Market Street
                                                Suite 2300
                                                Wilmington, DE 19801

 Saul Ewing Arnstein & Lehr LLP                 The Office of the United States Trustee
 Attn: Jeffrey Hampton, Esq. and Adam H.        Attn: Benjamin A. Hackman, Esq.
 Isenberg, Esq.                                 844 N. King Street, Suite 2207
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 Philadelphia, PA 19102

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